Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 1 of 28 PageID #:2267
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 2 of 28 PageID #:2268
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 3 of 28 PageID #:2269
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 4 of 28 PageID #:2270
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 5 of 28 PageID #:2271
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 6 of 28 PageID #:2272
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 7 of 28 PageID #:2273
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 8 of 28 PageID #:2274
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 9 of 28 PageID #:2275
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 10 of 28 PageID #:2276
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 11 of 28 PageID #:2277
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 12 of 28 PageID #:2278
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 13 of 28 PageID #:2279
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 14 of 28 PageID #:2280
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 15 of 28 PageID #:2281
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 16 of 28 PageID #:2282
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 17 of 28 PageID #:2283
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 18 of 28 PageID #:2284
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 19 of 28 PageID #:2285
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 20 of 28 PageID #:2286
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 21 of 28 PageID #:2287
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 22 of 28 PageID #:2288
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 23 of 28 PageID #:2289
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 24 of 28 PageID #:2290
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 25 of 28 PageID #:2291
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 26 of 28 PageID #:2292
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 27 of 28 PageID #:2293
Case: 1:15-cv-08489 Document #: 132 Filed: 04/25/22 Page 28 of 28 PageID #:2294
